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                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS

                                                  )
 STUART JAMES MULLER,                             )
                                                  )
                         Plaintiff,               )
                                                  )     Case No.
                 v.                               )
                                                  )
 JIUN-LIANG CHEN a/k/a RICKY CHEN                 )
 and ZHAOJIE TECHNOLOGY                           )
 INTERNATIONAL CO. LIMITED d/b/a                  )
 ION ELECTRONIC MATERIALS CO.,                    )
 LTD.,                                            )
                                                  )
                         Defendant.
                                                  )

                             COMPLAINT AND JURY DEMAND

       The plaintiff Stuart James Muller brings this complaint for theft of trade secrets against

the defendants Jiun-Liang Chen a/k/a Ricky Chen (“Chen”), Zhaojie Technology International

Co. Limited d/b/a Ion Electronic Materials Co., Ltd. (“Zhaojie” and together with Chen,

collectively, the “Defendants”) alleges as follows:

                                  NATURE OF THE ACTION
       1.       This is an action for money damages under the Defend Trade Secrets Act arising

from Defendants’ willfully and surreptitiously planned theft, acquisition, misappropriation,

public disclosure, and use of Plaintiff’s trade secrets and confidential information. Chen,

through IEM, fraudulently induced Plaintiff into a series of agreements entered into between

Plaintiff and Defendants that enabled Defendants to extract from Plaintiff valuable trade secrets

to develop, manufacture and sell a specialty product crucial in the semiconductor manufacturing

industry. Defendants further used their deceit to extract other trade secrets for a new product line

and made those trade secrets public so that Zhaojie could fraudulently obtain a patent from the

United State Patent and Trademark Office from which Defendants would profit.
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       2.       Defendants continue to use Plaintiff’s misappropriated trade secrets, and such

unlawful use has greatly enriched the Defendants to the tune of tens of millions of dollars at the

expense of Plaintiff.

       3.       In furtherance of this orchestrated scheme to steal Plaintiff’s trade secrets, in or

about the spring of 2016, Chen, acting on behalf of Zhaojie, traveled to the Commonwealth to

induce Plaintiff into agreeing to partner with Chen, and other associates of Chen’s, to form a

purportedly new business by which Plaintiff’s trade secrets would be exploited. Chen’s

negotiation, on behalf of Zhaojie, of an agreement to partner with Plaintiff, entered into here in

the Commonwealth was, however, a “Trojan Horse” from which Defendants would plunder

Plaintiff's proprietary information and then terminate relations with Plaintiff. Beginning in 2016

and continuing through 2020, Chen, acting on behalf of IEM, made numerous misrepresentations

and false promises to Plaintiff to induce Plaintiff to agree to disclose Plaintiff’s confidential

proprietary information before abruptly ghosting Plaintiff, betraying the malicious intent that

motivated Defendants’ actions from the outset.

                                           THE PARTIES
       4.       Plaintiff is an individual residing in Fremont, New Hampshire.

       5.       Defendant Chen is a resident of Taiwan doing business at No. 195, Xiangxi Road,

Hukou Township, Hsinchu County 30347, Taiwan, Republic of China.

       6.       Upon information and belief, Defendant IEM is a limited liability company

organized under the laws of Taiwan and doing business at No. 195, Xiangxi Road, Hukou

Township, Hsinchu County 30347, Taiwan, Republic of China.

                                  JURISDICTION AND VENUE
       7.       This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331, 2201,

2202, the trade secret laws of the United States (18 U.S.C. §§ 1836 and 1839).

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        8.       This Court has personal jurisdiction over the Defendants. Personal jurisdiction

exists generally and specifically over the Defendants because they directly and/or through their

agents have sufficient minimum contacts with this judicial district as a result of business

conducted within the Commonwealth. For example, Chen, on behalf of Zhaojie, contracted with

Plaintiff in the Commonwealth and committed torts against Plaintiff here in the Commonwealth

as described herein that are related to claims at issue in this litigation. Defendants Chen and

Zhaojie understood that a long-term business relationship with Plaintiff would necessitate

continuing wide-reaching contacts with Plaintiff whose primary place of business at the time was

in Massachusetts. Defendants have thus purposefully reached out beyond Taiwan and into

Massachusetts by, for example, entering a contractual relationship that envisioned continuing and

wide-reaching contacts in Massachusetts. As such, Defendants have demonstrated that they are

ready and willing to conduct business with residents of this District and the Commonwealth of

Massachusetts, and actively have done so.

        9.       Venue is proper in this Court pursuant to 28 U.S.C. §§ 1391(b), 1400(a) because

Defendants transacted business in this judicial district, have misappropriated trade secrets in this

District, have engaged in torts in this District, and are subject to personal jurisdiction in this

district.

                                               FACTS

A.      Defendants Contract with Plaintiff in Boston in Furtherance of Obtaining Trade
        Secrets

        10.      Plaintiff believes and understands that Chen, in or about August of 2005, formed

Zhaojie by registering the company with the appropriate legal authorities in Taiwan, namely, the

Ministry of Economic Affairs for the Republic of China (“R.O.C.”). In 2016, Chen, acting on

behalf of Zhaojie, traveled to Boston where he offered Plaintiff a partnership. The two had


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previously crossed paths in the semiconductor industry and Chen represented that he needed

Plaintiff’s assistance and know-how to start a prospective company, which would later be known

as Ion Electronic Manufacturing or “IEM,” and would serve the semiconductor industry with

specialty gas products crucial to the semiconductor manufacturing process.

       11.     Chen, and by extension his company Zhaojie, needed Plaintiff as a partner in the

proposed new company because only Plaintiff had the expertise and know-how regarding sub-

atmospheric gases and products that Defendant’s needed to succeed in the semiconductor

industry. These specialty gas products are crucial to the ion implantation processes used in the

manufacture of semiconductor chips. Plaintiff accepted Chen’s offer to partner with Chen to

form this proposed new company which would be formed in Taiwan where it would use

Plaintiff’s know-how to manufacture and sell specialty gas products to manufacturers of

semiconductor chips. Defendants knew that Plaintiff’s know-how would be provided from here

in the Commonwealth. Accordingly, at the conclusion of the meeting in Boston’s Chinatown,

Chen and Plaintiff shook hands and agreed to be partners in the new business.

       12.     Chen returned to Taiwan allegedly to form the new company. Chen represented

to Plaintiff that the new company would be owned in equal shares between Plaintiff, Chen,

Jianlong Yao (“Long”), and Liang Zhu (“Zhu”). Chen further represented that Plaintiff, Long,

and Zhu each needed to have separate companies in the United States to serve as shareholders of

the proposed company and to serve the interest of the respective individuals because, under

R.O.C. law, foreign individuals could have ownership interests in Taiwanese companies. To this

end, Plaintiff formed Sakke LLC under the laws of the Commonwealth.

       13.     Plaintiff, Chen, Long, and Zhu then negotiated the articles of association (the

“Agreed to Articles”) for the purportedly “new company” or “NEW CO” as it was called in the



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documents, and which the parties ultimately referred to as Ion Electronic Materials CO., LLC or

“IEM.”

         14.   On about August of 2016, Plaintiff, Long, Zhu, and Chen signed the Agreed to

Articles for the New Co. and were led to believe that they, as legal representatives of their

respective companies, would be equal owners and would have equal control over IEM, Plaintiff

through Sakke LLC, Long through a company referred to as LongsPeak Technologies Ltd., Zhu

through a company referred to as Reach America LLC, and Chen through a company referred to

as Reach America Taiwan ESG CO., Ltd. A copy of the executed Agreed to Articles are attached

hereto as Exhibit A.

         15.   Under the Agreed to Articles, the four founding shareholders of IEM were as

follows: Reach America LLC, which owned 25% of IEM, Reach America Taiwan ESG CO.

Ltd., which owned 25% of IEM, Sakke LLC, which owned 25% of IEM, and LongsPeak

Technologies Ltd., which owned 25% of IEM. The parties agreed and signed the articles of

incorporation and Plaintiff was led to believe Chen, through the new company’s attorneys, would

file the Agreed to Articles with the appropriate R.O.C. authorities to form a legal entity.

         16.   Chen, who was acting on behalf of Zhaojie, fraudulently induced Plaintiff to

believe that the new company known as IEM was registered with R.O.C. and that Plaintiff’s

limited liability company, Sakke LLC, owned sufficient shares in the new company to have

ownership and control equal to Chen and the other purported founders.

         17.   For example, pursuant to the Agreed to Articles, IEM was be governed by its

Board of Shareholders comprised of Reach America LLC, Reach America Taiwan ESG CO.

Ltd., Sakke LLC, and LongsPeak Technologies Ltd., each having voting rights in proportion to

their capital contributions. IEM was to have a Board of Directors with four directors, one from



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each party, and a Chairman of the Board appointed by the shareholders. Chen, Long and Zhu

elected Plaintiff to be Chairman of the Board of IEM provided Plaintiff with name cards

referring to Plaintiff as Chairman of the Board. IEM also used corporate organization charts that

identified Plaintiff as being ranked above Chen, Zhu, and Long.

       18.     Pursuant to the Agreed to Articles, Plaintiff also provided to IEM a capital

contribution of approximately $NT2.5 million as a capital contribution. Chen and Plaintiff

further agreed that Plaintiff would not earn a salary as he would be amply compensated for his

contribution after he developed IEM’s products and business, after which the company would be

sold to the highest bidder in the next few years.

B.     The “New Company” Was a Lie Used to Obtain Plaintiff’s Trade Secrets

       19.     Chen never had the Agreed to Articles filed with the R.O.C. Upon information

and belief, Chen merely revised the articles of incorporation for Zhaojie for which he remained

the director and sole legal representative, with sole control over the corporate governance of the

company. Sakke LLC, Long Technologies Ltd., and Reach America LLC were listed as equity

shareholders but having no control over the corporate governance of the company.

       20.     Having been induced into believing that he was an equal owner in the business,

with proportional control over IEM, a title of Vice President of Operations, and Chairman of the

Board, Plaintiff disclosed his trade secrets to Defendants and the other “founders” of the

supposedly new company. For example, there were a number of patents owned by competitor

companies and Plaintiff’s knowledge of this technology and how to design IEM products that

would not infringe this existing technology but would be competive in the semiconductor

manufacturing industry was crucial to the success of IEM. Plaintiff thus designed for IEM a sub-

atmospheric gas storage and delivery product known as SAGS 1. These sub-atmospheric gases



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used in the manufacture of semiconductor wafers are extremely toxic and Plaintiff designed a

type of SAG package that would include the necessary gases with necessary chemical properties

and proportions to best facilitate the ionization of the plasmas needed for the ion implantation of

the wafers in the plasma chambers but that would do so in a manner to avoid dangerous gas

leaks. Plaintiff’s know-how was crucial for IEM to offer not only a safer product but that also

did not expose IEM to infringement liability.

       21.     In 2016, however, only a few months after the supposedly new company was

purportedly launched, a dispute arose between Zhu and Chen in which Zhu professed to not trust

Chen and wanted out of IEM. Long and Plaintiff asked Chen to have IEM’s Taiwanese attorneys

re-register the company when Zhu pulled out to reflect that there were only 3 partners, with

equal control over the governance of the company. Chen informed Plaintiff, and Long, that he

would handle the corporate formalities of registering this change with the R.O.C.’s Ministry of

Economic Affairs, with equal control over the governance of the company. However, this was

not done. Upon information and belief, it was at this time that a company of Chen’s called

Megachem Advanced Research Materials, Co. Ltd. (“Megachem”) came to own Zhu’s shares,

putting Chen’s ownership stake 50% of the shares of Zhaojie. Upon information and belief, this

is also when Chen had Zhaojie issue 250,000 shares for Long and Plaintiff each, not the expected

2,500,000 each.

       22.     For the remainder of 2016, without compensation, Plaintiff focused on getting

manufacturing facilities established for the production of IEM’s products. From 2017 until 2019,

Plaintiff disclosed his trade secrets to Defendants and developed, manufactured, and sold the

SAG 1 product which was crucial to the development of IEM’s business. A key to the SAG 1

product was not only Plaintiff’s design of the product but also Plaintiff’s unique knowledge as to



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who to contact in order to source the material necessary for the manufacture and sale of the SAG

1 product. This was knowledge unique to Plaintiff, unknown to Defendants, and crucial to

Defendants.

       23.     In furtherance of his misappropriation of Plaintiff’s trade secrets, in 2019, Chen

reached out to Plaintiff here in the Commonwealth seeking new technology that was needed for

Zhaojie to stay competitive in the semiconductor wafer industry. Chen knew that Plaintiff had a

number of new and novel ideas for sub-atmospheric gas products that he could reduce to practice

and which would make Zhaojie more competitive in the semiconductor industry. Defendants

thus reached into the Commonwealth where plaintiff was located and had Plaintiff disclose his

novel and inventive ideas for a SAG II product to Defendants, fraudulently inducing Plaintiff to

believe he was disclosing his trade secrets to a company he owned and controlled.

       24.     In exchange for the development of the SAG II product, Plaintiff negotiated with

Chen an increase in plaintiff’s ownership of IEM based on the value of the Plaintiff’s

contribution to the supposedly new company to reflect the proportion of the contribution the

different founders were making to the supposedly new company. Plaintiff and Chen agreed that

Plaintiff would now own 40% of the company with 40% voting power over the governance of

IEM. However, Chen did not revise the articles of association with the R.O.C. to reflect

Plaintiff’s 40% ownership and control of the company. Rather, upon information and belief,

Chen had previously submitted another version of the articles of association to R.O.C. Ministry

of Economic Affairs. Upon information and belief, the version submitted to R.O.C. Ministry of

Economic Affairs lists Chen and Chen’s mother as being responsible for IEM’s governance, with

Plaintiff having 25% equity interest in Zhaojie but no control over the governance of the

company.



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       25.     In furtherance of the misappropriation of Plaintiff’s trade secrets, Chen and

Zhaojie took these trade secrets and contracted with attorneys here in the United States to apply

for and obtain a patent with the United States Patent and Trademark Office based on Plaintiff’s

previously undisclosed trade secrets. Specifically, Chen and Zhaojie, in furtherance of their

unlawful appropriation of Plaintiff’s trade secrets, then contracted with attorneys at Giant Group

Corporation located at 8102 Postoak Road, Potomac, Maryland to obtain a patent from the

United States Patent and Trademark Office (“USPTO”). On behalf of Defendants, Giant Group

Corporation applied to obtain a patent for Plaintiff’s technology and the patent issued on March

7, 2023 as US 11,598,488 B2 (the ‘488 Patent). When the application was finalized by Chen’s

attorneys, Plaintiff was shocked to see Chen listed as a co-inventor on the patent application as

Chen had no involvement in inventing the technology disclosed in US 11,598,488 B2.

       26.     On March 20, 2020, Chen asked Plaintiff to execute Chinese documents which

were in effect an assignment and declaration transferring Plaintiff’s rights to the ‘488 Patent to,

Plaintiff was led to believe, IEM. Relying on Defendants’ fraudulent representations that

Plaintiff had sufficient ownership and control of IEM such that Plaintiff’s interests and IEM’s

interest were aligned, and believing he was assigning the patent to IEM, not Zhaojie, Plaintiff

agreed to execute the documents assigning his rights to the ‘488 Patent to IEM. In reality, he

was tricked into assigning the patent to Zhaojie.

C.     IEM Conducts Business in the Commonwealth to Be Acquired by a Massachusetts
       Company

       27.     In or about March of 2020, IEM began negotiating with Integris, Inc., a

competitor of Zhaojie’s that also offered specialty sub-atmospheric gas products for the

semiconductor industry. Integris, Inc. is located here in the Commonwealth. Since Plaintiff was

also located here in the Commonwealth, Plaintiff, on behalf of what Plaintiff believed to be IEM

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but was really Zhaojie, was the main contact for Entegris, Inc. to discuss a possible purchase of

Zhaojie. Continuing the ruse that Plaintiff owned 25% of Zhaojie, Chen had Long and Plaintiff

sign as owners of Zhaojie the letter of intent with Integris, Inc. Zhaojie was thus conducting

further business in the Commonwealth, business related to the misappropriation of Plaintiff’s

trade secrets because Entegris, Inc. would not have negotiated with Zhaojie but for Zhaojie’s use

of trade secrets misappropriated from Plaintiff and used in the manufacture and sale of Zhaojie’s

products.

       28.     Also in or about March of 2020, Chen was negotiating with the Taiwan National

Development Fund for possible investment in Zhaojie. In April of 2020, while negotiations with

the Taiwan National Development Fund and Entegris, Inc. were on going, Chen recommended

the company change its corporate structure from an equity ownership structure to a stock

ownership structure. Chen reasoned this change was needed in order to prevent a dilution of the

interests of Plaintiff, Long, and Chen, as a result of a potential investment by third parties.

       29.     In June of 2020, IEM issued notices that IEM would issue 3,000,000 new shares

of stock at $10 NTD per share and again on January of 5, 2021 IEM issued a further 2,000,000

new shares. Plaintiff was disturbed by this issuance but continued negotiating with Entegris, on

behalf of IEM, to sell IEM to Entegris and expected the company to be sold soon, at which point

he would receive remuneration for his share of the company. Plaintiff continued to seek due

diligence items from IEM that Entegris wanted.

       30.     On July 22, 2020, Chen explained to Plaintiff that he would not provide Entegris,

Inc. with the due diligence it sought for its acquisition of IEM. Plaintiff understood that the deal

with Entegris was dead but continued to believe his role at IEM had not changed. Plaintiff now




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understands that Chen did not disclose these documents to Entegris in order to hide the true

ownership structure and control of IEM.

D.      Plaintiff Discovers His Trade Secrets Were Fraudulently Obtained

        31.       However, in or about August of 2020, Defendants ceased contact with Plaintiff.

After continued silence from Defendants, Plaintiff sought legal counsel in Taiwan and learned on

November 23, 2020, that he had been deceived by Defendants to disclose his trade secrets and

that the Articles that he had agreed to were not the articles that were filed with R.O.C. Ministry

of Economic Affairs. Zhaojie had amended the Articles in 2017, January, February, May and

June of 2018, April, October of 2020 to increase the capital and shareholders. Plaintiff owned

not 22.5% of Zhaojie but 2.25% and had no legal control over the decisions of Zhaojie.

        32.       Zhaojie’s value and market share is not many millions of dollars and that value

and market share is a direct result Plaintiff’s stolen trade secrets.

        33.       Plaintiff now brings this action seeking monetary relief for the trade secrets stolen

from him by Defendants.

                                      CAUSE OF ACTION
                Trade Secret Misappropriation Under the Defend Trade Secrets Act
                                 (18 U.S.C. §§ 1836, 1839 et seq.)

        34.       Plaintiff incorporates and re-alleges each and every allegation above as if fully set

forth herein.

        35.       Plaintiff is the owner of certain valuable trade secrets contained in and relating to

special gases and machineries used for the semiconductor ion implantation process and

implantation, including those as described herein. These trade secrets are related to products and

services that are used in or intended for use in interstate and foreign commerce. These




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confidential and proprietary trade secrets are of substantial economic value and have conferred a

competitive advantage on Defendants.

       36.     Defendants gained access to Plaintiff’s trade secrets in the course of fraudulent

inducement.

       37.     Defendants improperly acquired Plaintiff’s trade secrets and have since

improperly used and disclosed those trade secrets, including by incorporating them into products

that Zhaojie markets and sells as its own and as the subject matter of a patent obtained from the

U.S.P.T.O.

       38.     Defendants have misappropriated Plaintiff’s trade secrets by acquiring, using,

and/or disclosing the information described above, including by manufacturing, marketing,

offering, and/or selling in the United States products that comprise, embody, and/or incorporate

the trade secrets described herein.

       39.     Defendants willfully and maliciously misappropriated Plaintiff’s trade secrets in

order to gain economic value from that information.

       40.     Plaintiff took reasonable steps to maintain the secrecy of its trade secrets and

would require confidentiality and/or nondisclosure agreements to be signed by any party granted

access those trade secrets but for Zhaojie and those believed to be co-owners of the company

Plaintiff was fraudulently led to believe he owned and controlled.

       41.     As a direct and proximate result of Defendants’ current and continued

misappropriation of Plaintiff’s trade secrets, Plaintiff will suffer imminent and irreparable harm.

       42.     Unless enjoined by this Court, Defendants’ acts of misappropriation will continue

and Plaintiff will continue to suffer irreparable harm.

       43.     Plaintiff has no adequate remedy at law.



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                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff demands judgment against Defendants as follows:

       1.      Award a temporary restraining order, preliminary injunction, and/or permanent

injunction prohibiting Defendants from using Plaintiff's trade secrets.

       2.      Award a temporary restraining order, preliminary injunction, and/or a permanent

injunction restraining and enjoining Defendants from altering, destroying, or disposing of any

evidence, in any form, relating to this action, including without limitation emails and paper and

electronic documents, including current or archived electronic logs, metadata, and directories.

       3.      Declare that Defendants has no rights or privileges to use Plaintiff's trade secrets

or copyrighted works.

       4.      Award Plaintiff restitution in an amount to be determined at trial.

       5.      Award Plaintiff compensatory damages in an amount to be determined at trial,

including without limitation, Plaintiff's lost revenues and profits.

       6.      Award Defendant actual damages in an amount to be determined at trial.

       7.      Award Plaintiff disgorgement of Defendants’ profits in an amount to be

determined at trial.

       8.      Award Plaintiff punitive damages in an amount to be determined at trial, including

those pursuant to 18 U.S.C. § 1836 et seq.

       9.      Award Plaintiff any such other relief as the Court deems appropriate.


                                         JURY DEMAND

         Plaintiff hereby demands a trial by jury pursuant to Rule 38 of the Federal Rules of

 Civil Procedure.

 Dated: November 3, 2023

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                             Respectfully submitted,

                            /s/ R. Terry Parker
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